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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

                                                )
     UNITED STATES OF AMERICA,                  )
                                                              Civil Action No.
                                                )
                                                        2:16-cv-14050 (MAG) (RSW)
                  Plaintiff,                    )
                                                )
                                                               District Judge:
           v.                                   )
                                                          Hon. Mark A. Goldsmith
                                                )
     QUICKEN LOANS INC.,                        )
                                                             Magistrate Judge:
                                                )
                                                           Hon. R. Steven Whalen
                  Defendant.                    )
                                                )



                  ORDER OF DISMISSAL WITH PREJUDICE

           By Rule 41(a) stipulation between the United States of America and

     Quicken Loans Inc., this action is hereby dismissed with prejudice. Each

     party shall bear its own costs and waive rights to appeal.


     IT IS SO ORDERED.

     Dated: June 14, 2019                           s/Mark A. Goldsmith
           Detroit, Michigan                        MARK A. GOLDSMITH
                                                    United States District Judge
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      AS AGREED:


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